                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


 In Re: Tasigna (Nilotinib)                       MDL No. 3006
 Products Liability Litigation

                              NOTICE OF RELATED ACTION

       Pursuant to Rule 6.2(d) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation, Novartis Pharmaceuticals Corporation, defendant in Riley v. Novartis

Pharmaceuticals Corporation, No. 8:21-cv-00979 (M.D. Fla.), hereby notifies the Panel of the

related action listed in the attached schedule. The docket sheet and Complaint are also attached.



Dated: May 6, 2021                           Respectfully submitted,


                                             By: /s/ Joe G. Hollingsworth
                                             Joe G. Hollingsworth, Esq.
                                             jhollingsworthllp@hollingsworthllp.com
                                             HollingsworthLLP
                                             1350 I Street Northwest
                                             Washington, District of Columbia 20005
                                             Phone: (202) 898-5800
                                             Fax: (202) 682-1639

                                             Attorney for Novartis
                                             Pharmaceuticals Corporation
